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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

 PHYLLIS CARSON; LORNE COSMAN;                 )
 WILLIAM DRAPER; PHILLIP                       )
 ERICKSON; TERENCE GRANER;                     )   C.A. No. 22-208-CFC
 DONALD HARMAN; SARAH                          )
 HOUSEHOLDER; TRUDY L. GRANER;                 )
 TRUDY LETSON; SABINE MILLER;                  )
 DIANA HOBERT-POWELL; JANET                    )
 PURVIS; PATRICIA ROBERTS;                     )
 CAROLE SCHAUER; CARA                          )
 WASHINGTON; STEPHEN KAPLITT;                  )
 MICHAEL DOBKIN; CHERYL MEOLA;                 )
 DIANE DRAKE; CHROSTPHER NIND;                 )
 ROSE CARINA; BRUCE WILLIAMS;                  )
 ANTHONY HARRIS; TIMUR                         )
 SAKHARUK; ROBERT DIMARTINO;                   )
 IAN PERRY; STEPHEN LUTHER;                    )
 GREGORY ORENSKI; RODNEY NASH;                 )
 and DEBORAH THELEN individually and           )
 on behalf of all others similarly situated,   )
                                               )
                   Plaintiffs,                 )
                                               )
          v.                                   )
                                               )
 HP INC.,                                      )
                                               )
                   Defendant.                  )

               DEFENDANT’S MOTION TO DISMISS AND TO STRIKE

         Defendant HP Inc. (“HP”), by and through its undersigned counsel,

respectfully moves to dismiss Plaintiffs’ individual claims in the Second Amended

Class Action Complaint (D.I. 19) without leave to amend and to strike the class

allegations therein with prejudice.


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         The grounds for this motion are set forth in HP’s Opening Brief in Support of

Defendant’s Motion to Dismiss and to Strike, filed contemporaneously herewith.




                                               /s/ Kelly E. Farnan
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Dated: September 1, 2022




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